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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
BALTIMORE DIVISION

 

DAVID G. FEINBERG, et al., and all others
similarly situated,

Plaintiffs,
vs.
T. ROWE PRICE GROUP, INC., et al.,

Defendants.

 

 

Case No, 1:17-cv-00427-JKB

ORDER GRANTING MOTION TO AMEND AND REAFFIRM ORDER
PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT

 

Currently before the Court is Plaintiffs’ Notice of Amendment to Settlement Agreement and

Unopposed Motion to Amend and Reaffirm Preliminary Approval Order. The Court has reviewed

the notice and motion and agrees with Plaintiffs that the changes are not material to the Court’s

prior decision preliminarily approving the settlement.

In addition, the Court agrees that the statement “as set out in Paragraph 10 above” in the

first sentence of 410 of the Court’s preliminary approval order (ECF No. 239) should be amended

to read “as set out in Paragraph 9 above.”

Accordingly, the Court hereby GRANTS the motion, amends its preliminary approval

order as indicated, and reaffirms its prior order and decision preliminarily approving the

settlement, and all deadlines stated therein.

IT IS SO ORDERED.
Dated: £4 27 ,2022

Cem Th 2M

Hon. James K. Bredar
Chief United States District Judge

 
